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FoR THE wEsTERN DIsTRIcT oF TENNESSEE
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RENITA F. MALONE, CLE“TK. US%E?§H?G({)%%[M

W;D OF TN, MEMP%B
Plaintiff,

v.
No. 04-2810 Ml/P
SHELBY COUNTY GOVERNMENT and
SHIRLEY MARCUM, individually
and in her professional
capacity as a supervisor with
the Shelby County Sheriff’s
Department,

vv\_¢vvv\_¢vvvvvvv

Defendants.

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANTS’ PARTIAL
MDTION TO DISMISS

 

Before the Court is Defendants' Partial Motion to Dismiss,
filed February 8, 2005. Plaintiff responded in opposition on March
l, 2005. Defendants filed a reply on March 18, 2005. For the
following reasons, Defendants' motion is GRANTED in part and DENIED
in part.

I . BACKGROUND

The instant case arises out of Plaintiff Renita Malone’s
claims that she was discriminated against due to her race and
because she complained of discriminatory practices by her employer,
the Shelby County Sheriff's Department, a political subdivision of
Defendant Shelby County Government (“Shelby County”), and her
supervisor, Defendant Shirley Marcum. Plaintiff’s First Amended

Complaint asserts claims against Defendant Shelby County under

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with Ru\e 58 and{or 79{a) FRCP on j ,U:d§ j

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Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §
2000e et seq., claims against both Defendants under 42 U.S.C. §
1981, and separate claims against each Defendant under 42 U.S.C. §
1983. Plaintiff's First Amended Complaint also asserts claims
against both Defendants for violation of the Tennessee Human Rights
Act, Tennessee Code Annotated § 4~21-401, a claim against Defendant
Shelby County pursuant to Tennessee Code Annotated § 4-21-301, and
a claim against Defendant Marcum for negligent infliction of
emotional distress.

Plaintiff, who is African-American, has been an employee at
the Shelby County Sheriff’s Department since 1983. During the
course of her employment, Plaintiff alleges that Defendant Marcum,
who is Caucasian, treated Plaintiff differently because of her race
and thereby created a hostile work environment. In particular,
Plaintiff contends that Defendant Marcum directed Plaintiff to
outline and explain her responsibilities to her, denied her the
right to receive treatment from an employee assistance program, and
refused to assign Plaintiff to light-duty work despite the
recommendation of Plaintiff's physician, whereas such actions were
not taken with respect to non-African-American employees.

Plaintiff also contends that she made complaints to senior
officials employed by Defendant, who did not take action to remedy
the situation, and that Defendant Marcum retaliated against

Plaintiff after she made such complaints.

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Defendants filed their partial motion to dismiss on February
8, 2005. Plaintiff subsequently was granted leave to file her
First Amended Complaint on July l, 2005. As noted below, some of
Defendants contentions in its partial motion to dismiss were
rendered moot by the filing of Plaintiff’s First Amended Complaint.
However, the Court will address Defendant's contentions with
respect to the claims asserted in Plaintiff's First Amended
Complaint that mirror those which Defendant moved to dismiss from
Plaintiff's original Complaint.
II. STANDARD OF REVIEW

A defendant may move to dismiss a claim “for failure to state
a claim upon which relief can be granted” under Federal Rule of
Civil Procedure 12(b)(6). Fed. R. Civ. P. 12(b)(6). When
considering a Rule 12(b)(6) motion, a court must treat all of the
well-pleaded allegations of the complaint as true. Saylor v.
Parker Seal Co., 975 F.2d 252, 254 {6th Cir. 1992). Furthermore,
the court must construe all of the allegations in the light most
favorable to the non-moving party. Scheuer v. Rhodes, 416 U.S.
232, 236 (1974). “A court may dismiss a {claim under Rule
12(b)(6)] only if it is clear that no relief could be granted under
any set of facts that could be proved consistent with the

allegations.” Hishon v. King & Spaldino, 467 U.S. 69, 73 (1984).

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III. ANALYSIS

Defendants move to dismiss several claims in Plaintiff’s
original Complaint. The Court will address Defendants' contentions
in turn.

A. Contentions Mooted by Filing of First Amended Complaint

Several of Defendants’ contentions in its partial motion to
dismiss were rendered moot by the filing of Plaintiff's First
Amended Complaint. In particular, Defendants contended that former
Defendant Shelby County Sheriff’s Department was not a proper
defendant, that Plaintiff's original Complaint failed to state a
claim under Title VII against Defendant Marcum,l that Plaintiff’s
claim for intentional infliction of emotional distress against
Shelby County Government must be dismissed pursuant to the
Tennessee Governmental Tort Liability Act, and that Plaintiff’s
Complaint failed to state a claim for intentional infliction of
emotional distress either against Shelby County or Defendant
Marcum. Plaintiff's First Amended Complaint, however, no longer
asserts any claims against the Shelby County Sheriff’s Department

and does not include any of the above-referenced claims.2

 

l In its partial motion to dismiss, Defendants did not move
to dismiss Plaintiff's Title VII claim against Defendant Shelby
County.

2 In her First Amended Complaint, Plaintiff only asserts a
claim for infliction of emotional distress against Defendant
Marcum. (See Pl.’s First Am. Compl. at 15.) There is some
ambiguity regarding whether Plaintiff's claim is for negligent or
intentional infliction of emotional distress. The

(continued...)

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Accordingly, Defendants' motion to dismiss those claims is DENIED
as moot.

B. 42 U.S.C. § 1981

In her First Amended Complaint, Plaintiff asserts claims
pursuant to § 1981 against both Defendants.3 Defendants move to
dismiss Plaintiff's claims under § 1981 because any claim for the
violation of rights conferred by § 1981 must allegedly be asserted
pursuant to § 1983. Plaintiff contends that she may properly
assert her §§ 1981 and 1983 claims independently.

Although Section 1981 confers certain rights, the statute

itself does not provide a cause of action for race discrimination.

 

(...continued)

title of Count IX of Plaintiff's First Amended Complaint is
“Plaintiff v. Defendant Marcum, lndividually Negligent Infliction
of Emotional Distress,” (See Pl.’s First Am. Compl. at 15.).
However, the allegations in that Count of Plaintiff’s First
Amended Complaint contend that Defendant Marcum’s conduct was
both negligent and intentional. (See id. IL ?8, 79, 80.)
Because Plaintiff has chosen to title Count IX of her First
Amended Complaint “Negligent Infliction of Emotional Distress,”
the Court construes her claim as one for negligent infliction of
emotional distress.

342 U.S.C. § 1981 provides, in pertinent part:
All persons within the jurisdiction of the United
States shall have the same right in every State and
Territory to make and enforce contracts, to sue, be
parties, give evidence, and to the full and equal
benefit of all laws and proceedings for the security of
persons and property as is enjoyed by white citizens,
and shall be subject to like punishment, pains,
penalties, taxes, licenses, and exactions of every
kind, and to no other.

42 U.S.C. § 1981(a).

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See Jett v. Dallas Indep. Sch. Dist., 491 U.S. 701, 131-32, 735.
Rather, § 1983 “provides the exclusive federal damages remedy for
the violation of the rights guaranteed by § 1981 when the claim is
pressed against a state actor.” ld; at 735; see also Butts v.
Countv of Volusia, 222 F.3d 891, 894 (1lth Cir. 2000); Artis v.
Francis Howell North Band Booster Ass'n, 161 F.3d 1178, 1181 (8th
Cir. 1998)4. Accordingly, a suit for a violation of rights
conferred under § 1981 must be brought pursuant to § 1983. The
Court construes Plaintiff’s First Amended Complaint to assert
claims for the violation of rights conferred by § 1981 pursuant to
§ 1983. Defendants’ motion to dismiss Plaintiff's § 1981 claims
against each Defendant, to the extent that those claims were
asserted separately from § 1983, is therefore GRANTED. Plaintiff’s
claims for violation of rights guaranteed by § 1981, however, may
be properly asserted via § 1983.

C. 42 U.S.C. § 1983

Defendant Shelby County next contends that Plaintiff’s claims
against it pursuant to § 1983 should be dismissed because
Plaintiff’s complaint fails to state a claim under § 1983.5- In

particular, Defendant contends that Plaintiff has failed to

 

4 There are no reported decisions of the United States Court
of Appeals for the Sixth Circuit interpreting the applicability
of the Jett decision to cases similar to the instant case. The
Court, however, finds the reasoning of the Eleventh and Eighth
Circuit Courts of Appeal persuasive and adopts their reasoning.

5 Defendants do not move to dismiss Plaintiff's § 1983 claim
against Defendant Marcum.

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adequately plead that any alleged violation of Plaintiff's rights
was attributable to a municipal policy or custom.

A municipality may be held liable under § 1983 if the
municipality itself caused a constitutional deprivation. Monell v.
Dep't of Soc. Servs. of New York, 436 U.S. 658, 690 (1978). Before
a local governmental unit can be held liable for injuries pursuant
to § 1983, “a plaintiff must show that his injuries were the result
of some ‘policy or custom' attributable to the governmental
entity.” Leach v. Shelbv County Sheriff, 891 F.2d 1241, 1245 (6th
Cir. 1989) (quoting Monell, 436 U.S. at 690). A municipality is
not liable under § 1983 for an injury inflicted solely by its
employees or agents, but rather only when the “execution of the
government's policy or custom ... inflicts the injury.” City of
Canton v. Harris, 489 U.S. 3?8, 385 (1989). Further, the
governmental entity is liable under § 1983 only when the entity
itself is a “moving force” behind the deprivation of constitutional
rights. Kentuckv v. Graham, 473 U.S. 159, 166 (1985).

The “first inquiry in any case alleging municipal liability
under § 1983 is the question whether there is a direct causal link
between a municipal policy or custom and the alleged constitutional
deprivation.” Monell, 436 U.S. at 690. Moreover, the policy or
custom must evidence deliberate indifference on the part of the
municipality. Monell, 436 U.S. at 388 (“Only where a
municipality's failure to train its employees in a relevant respect

evidences a ‘deliberate indifference’ to the rights of its

_"|,'_

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inhabitants can such a shortcoming be properly thought of as a city
‘policy or custom’ that is actionable under § 1983.”)

Defendants assert that Plaintiff's Complaint fails to state a
claim under § 1983 for deprivation of her rights under the
Fourteenth Amendment because she purportedly has failed to plead
that any alleged violation was due to a municipal policy or custom.
However, Plaintiff’s First Amended Complaint asserts that the
actions complained of were attributable to a custom, policy or
practice of Defendant Shelby County. (See Pl.'s First Am. Compl.
81 16, 50, 51, 56, 57.) Accordingly, Defendants' motion to dismiss
Plaintiff's § 1983 claims pursuant to the Fourteenth Amendment is
DENIED.

III. CONCLUSION
For the foregoing reasons, Defendants' partial motion to

dismiss is GRANTED in part and DENIED in part.6

SO ORDERED this ;aq day of August, 2005.

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JON P. MCCALLA
UN ED STATES DISTRICT JUDGE

 

 

6 This order is without prejudice to Defendants' moving to
dismiss any claims asserted in Plaintiff's First Amended
Complaint that were not asserted in Plaintiff’s original
Complaint.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CV-02810 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable .1 on McCalla
US DISTRICT COURT

